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12                                UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
14
     MATTHEW AMANS, and BABAK                          Lead Case No. 3:21-cv-03577-VC
15   MALEK, individually and on behalf of all
     similarly situated individuals,                   Consolidated with:
16                                                     Case No. 21-cv-03681-VC
17                            Plaintiffs,              Case No. 21-cv-05528-VC

18           v.                                        Hon. Vince Chhabria

19                                                     [PROPOSED] FINAL JUDGMENT
     TESLA, INC., a Delaware corporation,
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21                            Defendant.

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     [PROPOSED] FINAL JUDGMENT                                               CASE NO. 3:21-CV-03577-VC
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 1            On March       8      , 2024, the Court signed and entered its Order Granting Final

 2   Approval of Class Action Settlement Pursuant to Federal Rule of Civil Procedure 23(e)(2) and

 3   Motion for Attorneys’ Fees, Costs and Service Awards in the above-captioned matter as to the

 4   following class of persons:

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              all persons with whom Tesla entered into a contract for the purchase and/or installation of
 6            a Solar Roof with or without a Powerwall energy storage system in the United States and
              whom Tesla notified, in or around April 2021, would be required to pay an increased price
 7            as a condition for performance of the contract.
 8            Excluded from the Settlement Class are (a) any Judge or Magistrate presiding over this
 9   action and members of their families; (b) Defendant, Defendant’s subsidiaries, parents,
10   successors, predecessors, and any entity in which Defendant or its parents have a controlling
11   interest and its current or former employees, officers and directors; (c) persons who properly
12   execute and file a timely request for exclusion from the Settlement Class; and (d) the legal
13   representatives, successors, and assigns of any such excluded persons.
14            JUDGMENT IS HEREBY ENTERED, pursuant to Federal Rule of Civil Procedure 58,
15   as to the Settlement Class and the Settlement Class Representatives Matthew Amans and Babak
16   Malek, on the terms and conditions of the Settlement Agreement and the Court’s Final Approval
17   Order.
18            1.     For purposes of this Order, the Court adopts the terms and definitions set forth in
19   the Settlement Agreement unless otherwise defined in the Preliminary Approval Order or Final
20   Approval Order.
21            2.     Payments to Settlement Class Members shall be made as outlined in the
22   Settlement Agreement as approved by the Court in the Final Approval Order.
23            3.     Upon the Effective Date, the Releasing Parties, each of them, shall be deemed to
24   have been released, and by operation of this Final Judgment shall have, fully, finally, and
25   forever, released, relinquished, and discharged all Released Claims against each and every one of
26   the Released Parties.
27            4.     The only outstanding matters in this action are the post-judgment accounting and
28   Class Counsel’s future request to release the remaining attorneys’ fees. The Parties understand

     [PROPOSED] FINAL JUDGMENT                         -1-                     CASE NO. 3:21-CV-03577-VC
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 1   that the Court does not intend for the post-judgment accounting or Class Counsel’s future request

 2   to release the remaining attorneys’ fees to render its Order non-final or delay the entry of

 3   judgment.

 4          5.      This Action is therefore settled and dismissed on the merits with prejudice.

 5          6.      Without affecting the finality of this Judgment, the Court reserves jurisdiction

 6   over the Settlement Class Representatives, the Settlement Class, Class Counsel, and Defendant

 7   as to all matters concerning administration, consummation, and enforcement of the Settlement

 8   Agreement.

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            IT IS SO ORDERED.
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            Dated this ___          March
                        8 day of _____________, 2024
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                                                             ___________        ___________
14                                                               Hon. Vince Chhabria
                                                               United States District Judge
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     [PROPOSED] FINAL JUDGMENT                         -2-                     CASE NO. 3:21-CV-03577-VC
